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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA
AT BECKLEY

MOUNTAIN VALLEY PIPELINE, LLC,

Plaintiff,
v. CIVIL ACTION NO 5:23-CV-00625

MELINDA ANN TUHUS, and
ROSE ZHENG ABRAMOFF

Defendants.
PROPOSED] ORDER GRANTING UNOPPOSED MOTION TO AMEND

MOTION TO DISMISS TO INCLUDE SUPPLEMENTAL GROUNDS
PURUSANT TO FED. R. CIV. P. 12(b)(6)

Pending before the Court is the Unopposed Motion to Amend Scheduling

Order (Doc No. ___) filed by Defendants Tuhus and Abramoff on July 26, 2024. For
the reasons stated in the Motion, the Court finds good cause exists for the Motion
and accordingly, ORDERS as follows:

Defendants’ Supplemental Memorandum of Law in Support of Motion to
Dismiss is accepted, deemed timely, and incorporated by reference as supplemental
grounds in support of Defendants’ previously-filed Motion to Dismiss/Motion for

Abstention (ECF Doc. 14) and supporting Memorandum (ECF Doc. 15).

Dated: , 2024

Honorable Frank W. Volk
